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lN Tl-IE UN l'fED S'I`ATES DlSTRIC'I` COUR'I` FOR
EASTERN DISTRICT OF VlRGINlA

A|exal‘ldria Division
UNITED STATES OF AMIER|CA
v. Crimina| No. l:lG-cr-l40

PETER ROMAR. Tlte i-lon. Clattde M. Hilton
(af'k)'a "PlERRE ROMAR"),

Defendant.

 

I’LEA AGRF.EMENT

Dana 1. Boente, United States Attorney for the Eastern District ofVirginia; Brandon Van
Graek, Special Assistant United States Attorney, and Maya D. Song, Assistant Unitcd States
Attorne)-'; the defendant_, l’IETER ROMAR; and the det`endant’s counsel, Geremy C. Kamens,
have entered into an agreement pursuant to Rule l l ofthe Federal Rules ot`Criminal Procedure.
The terms ot`the agreement arc as follows:

l. Oft`ense and Maximunt Pcna|ties

The defendant agrees to plead guilty to Count One and Count 'l`wo oftltc indictment,
which charges the defendant with conspiracy to violate 18 U.S.C. § 880, that is, to reeeive.
possess. conceal, or dispose ol`any money or other property that was obtained front the
commission of`an offense under 18 U.S.C. § 875(d). in violation ot"fitlc 18, United Statcs Code.
Seetion 3'?`1 (Count One); and conspiracy to intentionally access a computer without
authorization and exceed authorized access, thereby obtaining information from a protected
computer, and the offense was committed in furtherance ofa criminal act under 18 U.S.C. § 380,
in violation ol"l`itle 13, Unitcd SlateS Code, SeCtion 1030{|3) (Count 'l`Wo). 'I`he maximum

penalties for Count One are: a maximum tenn ol`imprisonment of5 years. a line of$250.000.

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full restitution, forfeiture of assets as outlined below, a $10{) special assessment, and 3 years of
supervised release. The maximum penalties for Count 'l`wo are: a maximum term of
imprisonment 0f5 years, a fine ol`SZS0,0UU, full restitution, forfeiture ofassets as outlined
below, a $1{]0 special assessment, and 3 years ofsupervised releasc. The defendant understands
that the imposition of any supervised release term is in addition to any prison tenn the defendant
may receive, and that a violation ofa term of supervised release could result in the defendant
being returned to prison for the full term of supervised release.

2. Faetual Basis for the Plea

The defendant will plead guilty because the defendant is in fact guilty ofthe charged
offensc. The defendant admits the facts set forth in the statement of facts filed with this plea
agreement and agrees that those facts establish guilt ofthc offense charged beyond a reasonable
doubt. The statement of fac-ts, which is hereby incorporated into this plea agreement, constitutes
a stipulation of facts for purposes ofSection lB l .2(c) of the Sentencing Guidelines.

3. Assistance and Advice ol`Counscl

'I`he defendant is satisfied that the defendant’s attorney has rendered effective assistance
"l`he defendant understands that by entering into this agreement. defendant surrenders certain
rights as provided in this agreementl Tlte defendant understands that the rights ofcrirninal

defendants include the following:

a. the right to plead not guilty and to persist in that plea_;
b. the right to ajury trial;
e. the right to be represented by counsel - and ifnccessary have the court

appoint counsel - at trial and at every other stage ofthe proceedings; and

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d. the right at trial to confront and cross-examine adverse witnesses, to be
protected from compelled self-incrimination to testify and present
evidence, and to compel tlte attendance of witnesses.

4. Role of the Cou rt and the Probation Oflice

The defendant understands that the Court hasjurisdiction and authority to impose any
sentence within the statutory maximum described above but that the Court will determine the
defendant’s actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands
that the Court has not yet determined a sentence and that any estimate oftltc advisory sentencing
range under the U.S. Sentencing Corntnission`s Sentencing Guidelincs Manual the defendant
may have received from the defendant’s counscl, the United States, or the I‘robation Oftice, is a
prediction, not a promise, and is not binding on the United States, thc Pl‘obation Oflice, or the
Court. Additionally, pursuant to the Suprcme Court`s decision in Um`!er! Strtres v. Bor)ker, 543
U.S. 220 (2005), the Court, after considering the factors set forth in IS U.S.C. § 3553(;1), may
impose a sentence above or below the advisory sentencing range, subject only to review by
higher courts for reasonableness The United States makes no promise or representation
concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty
plea based upon the actual sentence.

Further, in accordance with Rule l l(c)(l)(B) oftltc cheral Rules ofCriminal Proccdul'e.
the Unitcd States and the defendant will recommend to the Court that the following provisions of
the Sentencing Guidclines apply:

a. Counts One and Two shall be grouped together into a single group
(U.S.S.G. § 3Dl.2);

b. U.S.S.G. § 2131.1 is the applicable guideline for the offense conduet;

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c. The base offense level is 6 (U.S.S.G. § ZBl.l(a)(Z));

d. Thc offense level must be increased by 4 levels because the loss exceeded
515,000 but not $401000 (U.S.S.G. § ZBl.l(b)(l)(C));

e. 'l`he offense level must be increased by 2 levels because a substantial part
of the fraudulent scheme was committed from outside the United States
(U.S.S.G. § ZBl.lt:b)(lO)(B)).

The United States and the defendant agree that the defendant has assisted the government
in the investigation and prosecution oftltc defendant’s own misconduct by timely notifying
authorities oftltc defendant`s intention to enter a plea ofguilty, thereby permitting the
government to avoid preparing for trial and permitting the government and the Court to allocate
their resources efficiently. The government therefore agrees to support a two~levcl decrease in
offense level pursuant to U.S.S.G. § 3El.1(a).

Tlre United States and the defendant agree that they will not seek any additional offense-
level enhancements or adjustments, other than those listed above, for the purpose ofcalculating
defendant"s Guidelines range, The defendant understands that this recommendation is not
binding on the Probation Oflice or the Coun.

The United States does not object to the defendant receiving credit in his sentence
pursuant to 18 U.S.C. § 3585(b) for the time he spent in official detention in Germany pending
extradition to the United States in this case.

5. Waiver of Appeal, FOIA, and Privacy Act Rights

'I`he defendant also understands that l8 U.S.C. § 3742 affords a defendant the right to
appeal the sentence imposed. Nonetheless. the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above (ot' the manner in

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which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any
ground whatsoever other than an ineffective assistance ofcounsel claim that is cognizable on
direct appeal. in exchange for tlte concessions made by the United States in this plea agreemcnt.
This agreement does not affect the rights or obligations ofthe United States as set forth in l8
U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted dilectly or by a
representative to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution ofthis case. including without limitation
any records that may be sought under the Freedom of lnforrnation Act, 5 U.S.C. § 552, or the
Privacy Act_. 5 U.S.C. § 552a

6. Special Assessmcnt

Before sentencing in this ease, the defendant agrees to pay a mandatory special
assessment of$lUO per count ofconviction.

')'. Payment of Monetary Penalties

The defendant understands and agrees that, pursuant to 18 U.S.C. § 36 l 3, whatever
monetary penalties are imposed by the Court will be due immediately and subject to immediate
enforcement by the United States as provided for in Section 3613. Furthermore, within 14 days
ofa request_. the defendant agrees to provide all of the defendant`s financial information to the
United States and the Probation Office and, ifrequested, to participate in a prc-sentencing
debtor"s examination andr'or complete a financial statement under penalty ofperjur_v. lfthc
Court imposes a schedule of payments. the defendant understands that the schedule of payments
is merely a minimum schedule of payments and not the only method. nor a limitation on thc
metltods. available to the United States to enforce thejudgment. Ifthe defendant is incarcerated.

the defendant agrees to voluntarily participate in the Bureau of Prisons’ lnrnate l~`inancial

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Responsibility l’rogram, regardless of whether the Court specifically directs participation or
imposes a schedule of payments

8. Restitution

Defendant agrees that restitution is mandatory pursuant to 18 U.S.C. §3663A. Defendant
agrees to thc entry ofa Restitution Order for the full amount of the victims’ losses. Pursuant to
18 U.S.C. § 3663A(c)(2], the defendant agrees that an offense listed in § 3663A(c)(l) gave rise
to this plea agreement and as such, victims ofthe conduct described in the charging instralnent.
statement of facts or any related or similar conduct shall be entitled to restitution. `l"he parties
acknowledge that determination oftltc identities_. addresses and loss amounts for all victims in
this matter is a complicated and time consuming process. To that end, defendant agrees.
pursuant to 18 l_l.S.C. § 3664((])(5), that the court may defer the imposition ofrestitution until
after the sentencing; however, defendant specifically waives the 90-day provision found at 18
U.S.C. § 3664(d)(5) and consents to the entry of atty orders pertaining to restitution after
sentencing without limitation.

9. Immunity from Further Prosecntion in this District

'fhe United States will not further criminally prosecute the defendant in the Eastern
District ofVirginia for the specific conduct described in tlte indictment or statement of facts.

ll}. Dismissal ofOtlrer Cou nts

Upon execution of this agreement and the Court’s acceptance ofthe defendant’s plea of
guilty. the United States will move to dismiss the remaining counts of the indictment against this

defendant.

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ll. Dcfendant’s Cooperation

The defendant agrees to cooperate fully and truthfully with the United States, and provide

all information known to tlte defendant regarding any criminal activity as requested by the

governrnent. ln that regard:

B.

d.

'l`he defendant agrees to testify truthfully and completely at any grand
juries, trials or other proceedings

'l`lte defendant agrees to be reasonably available for debriefing and pre-
trial conferences as the United States may require.

The defendant agrees to provide all documents, records, writings, or
materials ofany kind in the defendant"s possession or under the
defendant`s care. custody, or control relating directly or indirectly to all
areas ofinquiry and investigation

'fhe defendant agrees that, at the request oftltc United States, the
defendant will voluntarily submit to polygraph cxaminations, and that the
United States will choose the polygraph examiner and specify the
procedures for the examinations

"fhe defendant agrees that the Staternent of Facts is limited to information
to support the plea. 'l`he defendant will provide more detailed facts
relating to this case during ensuing debrielirtgs.

'fhe defendant is hereby on notice that the defendant may not violate any
federal._ state. or local criminal law while cooperating with the

government, and that the government will. in its discretion, consider any

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such violation in evaluating whether to file a motion for a downward
departure or reduction ol`sentence.
g. Nothing in this agreement places any obligation on the government to seek
the dcfendant`s cooperation or assistance
12. Use of Inl`ormntion l’rovided by the Defentlant Under Tltis Agrecment
The United States will not use any truthful information provided pursuant to this
agreement in any criminal prosecution against the defendant in the Eastern District ofVirginia,
except in any prosecution for a crime of violence or conspiracy to commit, or aiding and
abetting, a crime ofviolence (as defined in 18 U.S.C.§ 16). Pursuant to U.S.S.G. § lBl.S, no
truthful information that the defendant provides under this agreement will be used in determining
the applicable guideline range, except as provided in Section l B1.8(b). Nothing in this plea
agreement. however. restricts the Court’s or l’robation Offrcer’s access to information and
records in the possession of the United States. l"urtlterntorc, nothing in this agreement prevents
the government in any way from prosecuting the defendant should the defendant knowingly
provide false, tmtruthful, or perjurious information or testimony, or from using information
provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,
administrative orjudicial. 'l`he United States will bring this plea agreement and the full extent of
the defendant’s cooperation to the attention of other prosecuting offices if requestedl
13. Prosecution in Other.lurisdictions
The United States Attorney’s Oflice for the Eastern District ofVirginia will not contact
any other state or federal prosecutingjurisdiction and voluntarily turn over truthful information
that the defendant provides under this agreement to aid a prosecution of tlte defendant in that

jurisdiction. Should atty other prosecutingjurisdiction attempt to use truthful information the

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defendant provides pursuant to this agreement against the defendant, the United States
Attorney"s Office for the Eastcrn District of Virginia agrecs, upon request, to contact that
jurisdiction and ask thatjurisdiction to abide by the immunity provisions ofthis plea agreement.
The parties understand that the prosecutingjurisdiction retains the discretion over whether to use
such information

14. Defendant Must Provide Full, Complete and 'I`rttthful Cooperation

This plea agreement is not conditioned upon charges being brought against any other
individual. This plea agreement is not conditioned upon any outcome in any pending
investigation This plea agreement is not conditioned upon any result in any future prosecution
which may occur because of the dcfendant`s cooperation This plea agreement is not
conditioned upon any result in any future grand jury presentation or trial involving charges
resulting from this investigation This plea agreement is conditioned upon the defendant
providing l`ull, complete and truthful cooperation

15. Motion fora Do\vnward l)eparture

Tlre parties agree that the United States reserves the right to seek any departure from the
applicable sentencing guidelines_. pursuant to Section 5K1.l of the Sentencing Guidelines and
Policy Statcments, or atty reduction ofsentcnce pursuant to Rule 35(b) ofthe Federal Rules of
Criminal Procedure, if, in its sole discretion, the United States determines that such a departure
or reduction ofsentence is appropriate.

16. Impact of Guilty l’lea on Inrmigration Status

The defendant recognizes that pleading guilty may have consequences with respect to
dcfendant`s immigration status if defendant is not a citizen oftltc United States. Under federal

law, a broad range ofcrimes are removable offenses because removal and other immigration

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consequences are the subjects ofa separate proceeding, the defendant understands that no ones
including dcfendant`s attorney or the District Court. can predict to a certainty the effect ofthe
dcfendant`s conviction on dcfendant`s immigration status Defendant nevertheless affrrms that
defendant wants to plead guilty regardless ofany immigration consequences that dcfendant`s
plea may entail, even if the consequence is the dcfendant`s automatic removal from the United
States

l'?. Consettt Given for Removal from the United States

The defendant acknowledges that the defendant is removable from the United States and
agrees not to contest any removal proceedings brought against the defendant by the Department
of`l~lomcland Security (Dl-IS). lfthc DHS files a Notice to Appcar or other administrative
charging document against the defendant, the defendant agrees to request an expedited removal
treating and to consent to rcmoval. 'I`he defendant acknowledges that by consenting to removal,
the defendant will be immediately removed from tlte United States upon the completion ofany
period of incarceration The defendant knowingly waives any and all rights to appeal, reopen_.
reconsider. or otherwise challenge this remova|.

18. Waiver of Rigllts Relntetl to Rentoval from thc United States

Except as provided in paragraph 19 bclow, the defendant agrees to waive the defendant’s
rights to apply for any and all forms ofrcliefor protection from rernoval, deportation, or
exclusion under the lmrnigration and Nationality Act (as amendcd) and related federal
regulations These rights include, but are not limited to. the ability to apply for the following
forms ofreliefor protection from removal: (a) voluntary departure; (b) asy|um; (c) withholding
of deportation or rernoval; (d) cancellation of removal; (e) suspension ofdeportation; (l)

adjustment of status; and (g) protection under Article 3 of the Convention Against Torture. As

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part of this agreement, the defendant specifically acknowledges and states that the defendant has
not been persecuted in, and has no present fear of persecution in, Germany on account of raee,
religion. nationality. membership in a particular social group or political opinion. Similarly. the
defendant further acknowledges and states that the defendant has not been tortured in, and has no
present fear of torture in Germany.

19. Exeeption for Cllanged Cireu mstances Arising After Plca

Nothing in this plea agreement shall prohibit the defendant from applying for asylum.
withholding of rcmoval. or protection under Article 3 oftltc Convcntion Against Torturc.
provided the application is based solely on changed circumstances arising after the entry of this
plea but before the dcfendant`s removal.

2{}. Abandonmcnt' of Pending Applieations for Relief from Removal

Thc defendant agrees that upon entry ofthis plea agreement, the defendant abandons ( l)
any existing immigration benefit the defendant may hold and (2) any application for relief from
removal. deportation. or exclusion the defendant may have filed prior to the completion of this
plea agreement Thc defendant further agrees not to file or prosecute any application for relief
from removal, deportation, or cxelusion, either written or oral, before any federal court, the
Board of Immigration Appeals, an immigrationjudge, or the Department of Horneland Security
(D|~lS). prior to the dcfendant`s removal from the United States_. except that the defendant may
apply for asylum, withholding of removal, or protection under Article 3 ofthe Convention
Against Torture as provided in paragraph 19 ofthis plea agreement.

21. Thc Dcfendant’s Coopcration in the Defendant’s Removal

Thc defendant agrees to assist the Dl-IS in the execution oftltc dcfendant`s removal.

Speeilieally, the defendant agrees to assist the D}-lS in the procurement of any travel or other

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documents necessary for the dcfendant`s removal; to meet with and to cooperate with
representatives ofthe country or countries to which the defendant’s removal is directed; and to
execute those forms, applications or waivers needed to execute or expedite the defendant’s
rentoval. '[`he defendant further understands that the defendant’s failure or refusal to assist the
l)HS in the execution of the defendant’s removal shall breach this plea agreement and may
subject the defendant to criminal penalties under 8 U.S.C.§ 1253.

22. Plea Agreement Binding for Purposcs of Removal Proecedings

Thc defendant agrees that the defendant intends the agreements contained in this plea
agreement to be binding upon the defendant during any removal proceeding that may be
instituted against the defendant as a result ofthis plea agreement. ln particular, the defendant
acknowledges and agrees that the agreements concerning removal contained in the plea
agreement were entered into by the defendant and the United States with the express
understanding that the agreements are binding for purposes of any future removal proceeding
before the Board oflmmigration Appcals, an immigrationjudge, or the Dl~IS.

23. Breaeh of the I’lea Agreement and Remedies

'l`his agreement is effective when signed by the defendant, the defendant’s attorney1 and
an attorney for the United States. Thc defendant agrees to entry ofthis plea agreement at the
date and time scheduled with the Court by the United States tin consultation with the dcfendant`s
attorney). lfthe defendant withdraws from this agreement, or commits or attempts to commit
atty additional federal, state or local Crimcs. or intentionally gives materially false, incomplete, or
misleading testimony or inl`ormation, or otherwise violates any provision ofthis agreement, then:

a. Thc United States will be released from its obligations under this

agreement. including any obligation to seek a downward departure or a

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reduction in sentence. Thc defendant, however, may not withdraw the
guilty plea entered pursuant to this agreement;

b. Thc defendant will be subject to prosecution for any federal criminal
violation, including, but not limited to, perjury and obstruction ofjustice,
that is not time-barred by the applicable statute of limitations on the date
this agreement is signed. Notwithstanding the subsequent expiration of
the statute oflimitations, in any such prosecution, the defendant agrees to
waive any statute-of-limitations defense; and

c. Any prosecution, including the prosecution that is the subject of this
agreement, may be premised upon any information provided, or
statements made, by the defendant, and all such information. statements,
and leads derived therefrom may be used against the defendant Tlte
defendant waives any right to claim that statements made before or after
the date of this agreement, including tlte statement of facts accompanying
this agreement or adopted by the defendant and any other statements made
pursuant to this or any other agreement with the United States. should be
excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. l l(f)1
the Scntencing Gttide|ines or any other provision ofthe Constitution or
federal law.

Any alleged breach ofthis agreement by either party shall be determined by tlte Court in
an appropriate proceeding at which the dcfendant`s disclosures and documentary evidence shall
be admissible and at which the moving party shall be required to establish a breach ofthe plea

agreement by a preponderance ofthe evidencc.

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24. Nature ofthe Agreement and Modifications

This written agreement constitutes the complete plea agreement between the United

States. the defendant. and the det`endant’s counsel. The defendant and the dcfendant`s attorney

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other titan those set forth in writing in this plea agreement, to cause the defendant to

plead guilty. Any modification ofthis plea agreement shall be valid only as set forth in writing

in a supplemental or revised plea agreement signed by all parties.

By:

Dana .l. Boente
United States Attomey

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BraHon Van Grac‘l<_

Special Assistant United States Attorney

Maya D. Song
lay V. Prabltu
Assistant United States Attorncys

Scott K. McCulloch

Nathan M.P. Charles

Trial Attorneys, U.S. Department of.lustice
National Security Division

Counterintelligencc and Export Contro| Scction

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Defcndant`s Signature: l hereby agree that l have consulted with my attorney and fully
understand all rights with respect to the pending criminal indictment. Further. l fully understand
all rights with respect to Title 18, United States Code, Section 3553 and the provisions ofthe
Sentencing Guide!ines Manual that may apply in ny case. l have read this plea agreement and
carefully reviewed every part of it with my rney. l understand this agreement and voluntarily
agree to it. '/

Date: 7%7“0;7%@

   

PETER ROMAR
Defendant

Del`cnse Counsel Sianature: l am counsel for the defendant in this case. I have fully
explained to the defendant the dcfendant`s rights with respect to the pending indictment.
l"urther_, [ have reviewed Title 18, United States Code, Section 3553 and the Sentencing
Guidclincs Mannal. and l have fully explained to the defendant the provisions that may apply in
this case. I have carefully reviewed every part of this plea agreement with the defendant. To my
knowledge, the defendant’s decision to enter into this agreement is an informed and voluntary
one.

Dutc: jé'Z//é €/%M

eremy . Katiteiss
Counsel for the Defendant

 

